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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007




                                                    April 14, 2022

BY ECF

The Honorable Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Timothy Shea, S1 20 Cr. 412 (AT)

Dear Judge Torres:

        The Government writes to notify the Court that on April 14, 2022, a Grand Jury sitting in
Manhattan returned a superseding indictment against defendant Timothy Shea in the above-
captioned case. Count One of the S1 Indictment charges the defendant with conspiracy to commit
wire fraud and private honest services fraud, in violation of 18 U.S.C. § 1349. Count Two of the
S1 Indictment charges the defendant with conspiracy to commit money laundering, in violation of
18 U.S.C. § 1956(h). Count Three of the S1 Indictment charges the defendant with obstruction of
justice through the falsification of documents, in violation of 18 U.S.C. § 1519 and 2. In other
words, the S1 Indictment adds a private honest services fraud object to Count One and also adds
the offense charged in Count Three. The S1 Indictment has also removed the “speaking”
allegations from the original Indictment, so that the new Indictment may be submitted to the jury
without redaction.

        The Government notified the defendant, through counsel, at least several weeks ago of the
possibility of a superseding indictment, including that the superseding indictment was likely to
contain the obstruction charge. The changes to the Indictment will not result in the production of
any new discovery, and also should have no effect on the estimated length of the trial.
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       The Government respectfully requests that the Court schedule an arraignment of the
defendant, and exclude time on the S1 Indictment from April 14, 2022, to the trial date. The
exclusion of time is in the interest of justice so that the defendant has sufficient time to prepare for
trial.

                                               Respectfully submitted,

                                               DAMIAN WILLIAMS
                                               United States Attorney

                                       By:         /s/
                                               Nicolas Roos
                                               Alison G. Moe
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                                               (212) 637-2421/2225/2616

Cc:    John C. Meringolo, Esq. (by ECF)
